Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 1 of 22

EXHIBIT A
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 2 of 22

General - 00000

Description

January

February

Total

Photocopies

Facsimilies

Long Distance Telephone

Outside Courier

Travel Expenses

Lexis

Westlaw

Meal Expenses

Temporary Staffing

Other Expense

1,439.37

1,439.37

Consulting Fees

1,379.52

1,379.52

Velo Binding

AAA [91/111

TOTAL

fn PAPHOS OH aia
'

2,818.89

an PIAA P1911 H/o

A

2,818.89

Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 3 of 22

Holme Roberts & Owen LLP
March 20, 2006
W.R. Grace Page 4
Invoice No.: 729101
Client No.: 04339
Matter No.: 00000
Regarding: GENERAL

Please note that some individual timekeeper hourly rates increased effective December 1, 2005

Itemized Disbursements

Date Qty Description Amount
12/30/05 Consulting Fee: VENDOR: Morris, James, Hitchens & Williams LLP; $ 778.69
INVOICE#: 286559; DATE: 12/30/2005 - HRO Fees and Costs in
WR Grace Case
01/20/06 Consulting Fee: VENDOR: Morris, James, Hitchens & Williams LLP; 600.83

INVOICE#: 287434; DATE: 1/20/2006 - HRO fees and costs in WR
Grace Bankruptcy Case December 2005 Services
02/17/06 Other Expense: VENDOR: Morris, James, Hitchens & Williams LLP; 1,439.37
INVOICE#: 288424; DATE: 2/17/2006 - For Professional Services
through January 31, 2006.

Total Disbursements: $ 2,818.89
Disbursement Summary

Consulting Fee $ 1,379.52

Other Expense . 1,439.37

Total Disbursements: $ 2,818.89

Accounts Receivable Detail

Invoice Date . Description Amount
679369 09/24/04 Bill 395.00
-316.00

01/04/05 Cash Receipt
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 4 of 22

Libby, Montana Asbestos Litigation - 00300

Description

January

March

Total

February

Parking

Photocopies

Facsimilies

Long Distance Telephone

Outside Courier

Travel Expenses

Meal Expenses

Overtime

Other Expenses

Lexis

Federal Express

Westlaw

Velo Binding

Color Copies

Outside Reproduction

Document Production

Tab Stock

POO HHS | Oo] oa ola

TOTAL

hn AAAS] HHH Ho oo mia! ao

n

an ABH 1 HH] Ho ola

A) (191911 169 19] 9 9/91 / ] CO

Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 5 of 22

Holme Roberts & Owen LLP
February 17, 2006
W.R. Grace Page 6
Invoice No.: 726148

Client No.: 04339
Matter No.: 00300

Regarding: Libby, Montana Asbestos
Please note that some individual timekeeper hourly rates increased effective December 1, 2005

Itemized Disbursements

Date Qty Description Amount
11/30/05 Other Expense: VENDOR: Iron Mountain; INVOICE#: CY38996; $ 206.64
DATE: 11/30/2005 - Storage to 11/30/05
12/31/05 Other Expense: VENDOR: Iron Mountain; INVOICE#: DF65912; 209.22
DATE: 12/31/2005 - Regular Storage Fee for Customer ID CW616
Total Disbursements: $ 415.86
Disbursement Summary
Other Expense $ 415.86
Total Disbursements: $ 415.86
Accounts Receivable Detail
Invoice Date Description Amount
661254 03/15/04 Bill 6,411.60
05/24/04 Cash Receipt -4,937.89
10/19/04 Cash Receipt -1,253.75
Outstanding Balance on Invoice 661254: $ 219.96
12,289.68

679369 09/24/04 Bill
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 6 of 22
Holme Roberts & Owen LLI

March 20, 2006

Page 7

Invoice No.: 729101
Client No.: 04339
Matter No.: 00300

W.R. Grace

Regarding: Libby, Montana Asbestos
Please note that some individual timekeeper hourly rates increased effective December 1, 2005

Itemized Disbursements

Date Qty Description Amount
01/20/06 Federal Express: VENDOR: FEDERAL EXPRESS CORPORATION; $ 27.21
INVOICE #: 3-300-27031; From Megan Kinsman to Tyler Mace on
January 11 2006
01/20/06 Federal Express: VENDOR: FEDERAL EXPRESS CORPORATION; 36.24
INVOICE #: 3-300-27031; From Cheryl Graham to Dori Anne
Kuchinsky on January 17 2006
Total Disbursements: $ 63.45
Disbursement Summary
Federal Express $ 63.45
Total Disbursements: $ 63.45
Accounts Receivable Detail
Invoice Date Description Amount
661254 03/15/04 Bill 6,411.60
05/24/04 Cash Receipt -4,937.89
10/19/04 Cash Receipt -1,253.75
$ 219.96

Outstanding Balance on Invoice 661254:
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06

Page 7 of 22

Holme Roberts & Owen LLF
April 14, 2006
W.R. Grace Page 6
Invoice No.: 730878
Client No.: 04339
Matter No.: 00300
Regarding: Libby, Montana Asbestos
Itemized Disbursements
Date Qty Description Amount
02/10/06 Federal Express: VENDOR NAME: FedEx; INVOICE#: 3-336-59928; $ 19.27
From Megan Kinsman to Tyler Mace on February 3 2006
03/13/06 Other Expense: VENDOR: IRON MOUNTAIN RECORDS; 206.64
INVOICE#: DS40024; Account CW616 Storage February 2006
Total Disbursements: $ 225.91
Disbursement Summary
Federal Express $ 19.27
Other Expense 206.64
Total Disbursements: $ 225.91
Accounts Receivable Detail
Invoice Date Description Amount
661254 03/15/04 Bill 6,411.60
05/24/04 Cash Receipt -4,937.89
10/19/04 Cash Receipt -1,253.75
Outstanding Balance on Invoice 661254: § 219.96
12,289.68

679369

09/24/04

Bill
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 8 of 22

Holme Roberts & Owen LLFE

April 14, 2006

Page 10
Invoice No.: 730878
Client No.: 04339
Matter No.: 00310

W.R. Grace

Regarding: Casmalia Superfund Site

Itemized Disbursements

Date Qty Description Amount
03/16/06 30 Document Reproduction $ 6.00
Total Disbursements: $ 6.00
Disbursement Summary

Document Reproduction $ , 6.00

Total Disbursements: $ 6.00
Trust Applied to Matter $ 0.00
Current Fees and Disbursements $ 6.00
$ 6.00

Total Balance Due This Matter

Bankruptcy Matters - 00390

Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 9 of 22

Name Position Hourly Rate | January February March Total Comp.
Flaagan, Elizabeth Partner $ 340.00 1 0.7 1.31 $ 1,020.00
Neitzel, Charlotte Partner $385.00 0 0.8 1, $ 693.00
Haag, Susan Paralegal $ 140.00 0.9 0 31 $ 546.00
|Coggon, Katheryn Special Counsel 5 310.00 0.4 0 3.31 $ 1,147.00
Sherman, Joan Paralegal $ 165.00 5.2 $ 858.00
TOTAL 7.5 1.5 8.6] $ 4,264.00

Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 10 of 22

Bankruptcy Matters - 00390

Description

January

February

Photocopies

Facsimilies

Long Distance Telephone

Outside Courier

Travel Expenses

Lexis

Federal Express

Meal Expenses

Research Services

Professional Services

Postage

TOTAL

An PIM AA HH 1 oo

nn P11 ABAD n |

"An PIMA AH al aio |

wn PAA AAS HAS |

Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 11 of 22

Holme Roberts & Owen LLI
February 17, 2006
W.R. Grace Page 10
Invoice No.: 726148

Client No.: 04339
Matter No.: 00390

Regarding: Bankruptcy Matters

Itemized Services

Date Tkpr Description Hours Value
01/09/06 KIC Telephone conference with B. Stansburg re witness files 0.40 $ 124.00
(.20); email exchange with B. Stansburg re same (.20)
01/12/06 EKF Review and revise December 2005 prebills/invoices (.50). 0.50 170.00
01/16/06 EKF Review and revise December 2005 invoices [prebills] (.50). 0.50 170.00
01/23/06 JLS Research re documents for Matt Murphy. 2.10 346.50
01/24/06 SH Draft December 2005 monthly fee application. 0.60 84.00
01/24/06 JLS Research re documents for Matt Murphy. 3.10 511.50
01/25/06 SH Compile December 2005 fee application. 0.30 42.00
Total Fees Through January 31, 2006: 7.50 $ 1,448.00
Timekeeper Rate Summary

Initials Name Position Rate Hours Value
EKF Elizabeth Flaagan Partner $ 340.00 1.00 $ 340.00
KJC Katheryn J. Coggon Special Counsel 310.00 0.40 124.00
JLS Joan L. Sherman Paralegal 165.00 5.20 858.00
SH Susan Haag Paralegal 140.00 0.90 126.00
Total Fees: 7.50 $ 1,448.00

Please note that some individual timekeeper hourly rates increased effective December 1, 2005
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 12 of 22

Holme Roberts & Owen LLI
February 17, 2006
W.R. Grace Page 11
Invoice No.: 726148
Client No.: 04339
Matter No.: 00390
Itemized Disbursements
Date Qty Description Amount
01/06/06 Federal Express: Federal Express Invoice 327605079 From Mary Ann $ 19.24
Pierce to William Weller on December 28 2005
01/06/06 Federal Express: Federal Express Invoice 327605079 From Mary Ann 10.72
Pierce to William Weller on December 29 2005
01/25/06 50 Document Reproduction 7.50
Total Disbursements: $ 37.46
Disbursement Summary
Document Reproduction $ 7.50
Federal Express 29.96
Total Disbursements: $ 37.46
Accounts Receivable Detail
Invoice Date Description Amount
658429 02/16/04 Bill 475.61
05/24/04 Cash Receipt -366.31
10/19/04 Cash Receipt -92.89
Outstanding Balance on Invoice 658429: 8 16.41
661254 03/15/04 Bill 2,580.71
05/24/04 Cash Receipt -2,131.18
-382.44

10/19/04 . Cash Receipt
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 13 of 22
Holme Roberts & Owen LLP

March 20, 2006

Page 11
Invoice No.: 729101
Client No.: 04339
Matter No.: 00390

W.R. Grace

Regarding: Bankruptcy Matters

Itemized Services

Date Tkpr Description Hours Value
02/13/06 EKF Review January 2006 prebills/invoices (.70). 0.70 §$ 238.00
02/21/06 CLN Obtain documents re mesotheliomas for Jay Hughes (.50); 0.80 308.00
respond to Jay Hughes e-mail (.30).
Total Fees Through February 28, 2006: 1.50 $ 546.00
Timekeeper Rate Summary
Initials Name Position Rate Hours Value
CLN Charlotte L. Neitzel Partner $ 385.00 0.80 $ 308.00
EKF Elizabeth Flaagan Partner 340.00 0.70 238.00
Total Fees: 1.50 $ 546.00
Please note that some individual timekeeper hourly rates increased effective December 1, 2005
Itemized Disbursements
Date Qty Description Amount
01/27/06 Federal Express: VENDOR: FEDERAL EXPRESS CORPORATION; $ 38.24
INVOICE #: 3-312-38694; From Megan Kinsman to Matt Murphy on
January 23 2006
02/03/06 : Federal Express: VENDOR: FEDERAL EXPRESS CORPORATION; 19.27

INVOICE #: 3-324-41434; From Mary Pierce to William Weller on
January 25 2006
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 14 of 22

Holme Roberts & Owen LLP
March 20, 2006
W.R. Grace Page 12
Invoice No.: 729101
Client No.: 04339
Matter No.: 00390
Itemized Disbursements
Date Qty Description Amount
Total Disbursements: $ 57.51
Disbursement Summary
Federal Express $ 57.51
Total Disbursements: $ 57.51
Accounts Receivable Detail

Invoice Date Description Amount
658429 02/16/04 Bill 475.61
05/24/04 Cash Receipt -366.31

10/19/04 Cash Receipt -92.89
Outstanding Balance on Invoice 658429: § 16. 41

661254 03/15/04 Bill 2,580.71
05/24/04 Cash Receipt -2,131.18

10/19/04 Cash Receipt -382.44
Outstanding Balance on Invoice 661254: $ 67.09

679369 09/24/04 Bill 1,618.52
01/04/05 Cash Receipt -1,526.52

04/22/05 Cash Receipt -89.34
$ 2.66

Outstanding Balance on Invoice 679369:
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 15 of 22
Holme Roberts & Owen LLF

April 14, 2006

Page 13

Invoice No.: 730878
Client No.: 04339
Matter No.: 00390

W.R. Grace

Regarding: Bankruptcy Matters

Itemized Services

Date Tkpr Description Hours Value
03/08/06 KIC Conference with B. Harding re discovery and follow-up re 1.80 §$ 558.00
same.
03/10/06 CLN E-mails to KJCoggon re ATSDR studies. 1.00 385.00
03/10/06 SH Draft monthly fee application charts. 0.50 70.00
03/13/06 EKF Review and revise February 2006 prebills/invoices (.5); 0.70 238.00
review Fee Auditor's final Report on Eighteenth Interim
Period Fee Applications (.2).
03/13/06 KJC Review discovery strategies. 1.50 465.00
03/21/06 EKF Review and finalize Monthly Fee Application for January 0.60 204.00
2006 (.3); review and finalize for filing Nineteenth Interim
Quarterly Fee Application (.3).
03/22/06 SH Draft nineteenth interim fee application. 2.50 350.00
Total Fees Through March 31, 2006: 8.60 $ 2,270.00
Timekeeper Rate Summary
Initials Name Position Rate Hours Value
CLN Charlotte L. Neitzel Partner $ 385.00 1.00 $ 385.00
EKF Elizabeth Flaagan Partner 340.00 1.30 442.00
KIC Katheryn J. Coggon Special Counsel 310.00 3.30 1,023.00
SH _ Susan Haag Paralegal 140.00 3.00 420.00

Total Fees: 8.60 $ 2,270.00
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 16 of 22

Holme Roberts & Owen LLI
April 14, 2006
W.R. Grace Page 14
Invoice No.: 730878

Client No.: 04339
Matter No.: 00390

Timekeeper Rate Summary

Initials Name Position Rate Hours Value
Itemized Disbursements
Date Qty Description Amount
03/21/06 39 Document Reproduction $ 5.85
03/21/06 32 Document Reproduction 4.80
03/24/06 116 Document Reproduction 17.40
Total Disbursements: $ 28.05
Disbursement Summary
Document Reproduction $ 28.05
Total Disbursements: $ 28.05
Accounts Receivable Detail
Invoice Date Description Amount
658429 02/16/04 Bill 475.61
05/24/04 Cash Receipt -366.31
10/19/04 Cash Receipt ~92.89
$ 16.41

Outstanding Balance on Invoice 658429:
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 17 of 22

Ninth Circuit Appeal - 00420

Name Position Hourly Rate | January | February March Total Comp.
Coggon, Katheryn Special Counsel $ 310.00 0.6 0 0} $ 186.00

TOTAL 0.6 : : $ 186.00

Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 18 of 22
Holme Roberts & Owen LLP

February 17, 2006

Page 14

Invoice No.: 726148
Client No.: 04339
Matter No.: 00420

W.R. Grace

Regarding: Ninth Circuit Appeal

Itemized Services

Date Tkpr Description Hours Value
01/09/06 KIC Email exchange with counsel re appeal deadlines. 0.10 $ 31.00
01/11/06 KIC Telephone conferences and email re 1/20/06 meeting with 0.50 | 155.00
EPA.
Total Fees Through January 31, 2006: 0.60 $ 186.00
Timekeeper Rate Summary
Initials Name Position Rate Hours Value
KJC Katheryn J. Coggon Special Counsel $ 310.00 0.60 $ 186.00
Total Fees: 0.60 $ 186.00
Please note that some individual timekeeper hourly rates increased effective December 1, 2005
Accounts Receivable Detail
Invoice Date Description Amount
658429 02/16/04 Bill 43,437.00
05/24/04 Cash Receipt -33,245.85
10/19/04 Cash Receipt -8,661.32
$ 1,529.83

Outstanding Balance on Invoice 658429:
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 19 of 22

EXHIBIT B
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 20 of 22

Name of Professional Position Department Hourly Total Total
Person Billing Rate | Hours Compensation
Billed

Neitzel, Charlotte Partner Environmental | $385.00 1.8 $693.00
Elizabeth K. Flaagan Partner Bankruptcy $340.00 3.0 $1,020.00
Katheryn J. Coggon Sp. Counsel Environmental | $310.00 4.3 $1,333.00
Joan Sherman Paralegal Environmental | $165.00 5.2 $858.00
Susan Haag Paralegal Bankruptcy $140.00 3.9 $546.00
TOTAL 18.2 $4,450.00

Case 01-01139-AMC Doc 13074-1 Filed 08/28/06 Page 21 of 22

EXHIBIT C
Case 01-01139-AMC Doc 13074-1 Filed 08/28/06

Page 22 of 22

DESCRIPTION TOTAL

Photocopies $41.55
Facsimiles $0.00
Long Distance Telephone $0.00
Outside Courier $0.00
Lexis $0.00
Tab Stock $0.00
Other Expenses $2,061.87
Meal Expenses $0.00
Westlaw $0.00
Federal Express $170.19
Color Copies $0.00
Professional Billable Services $1,379.52
Velo Binding $0.00
TOTALS $3,653.13

